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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                 PENSACOLA DIVISION — IN ADMIRALTY

IN RE SKANSKA USA CIVIL
SOUTHEAST INC. AND
SKANSKA USA INC., AS OWNERS                           Case No. 3:20cv5980-RV/MJF
OF THE BARGE KS 5531, PRAYING
FOR EXONERATION FROM OR
LIMITATION OF LIABILITY
_______________________________/
                                        ORDER
       On April 29, 2021, claimants’ counsel filed a claim on behalf of the Portofino
Master Homeowners Association, Inc. (doc. 620). I own a condominium in Portofino
and am a member of the HOA, so under the law I must, and do, hereby recuse myself
from further proceedings in this consolidated case. The clerk is directed to reassign
this case to another judge in this district.


       DONE and ORDERED this 3rd day of May 2021
                                   /s/ Roger Vinson
                                   ROGER VINSON
                                   Senior United States District Judge
